                             EXHIBIT P




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  From:             Robert MacGill
  To:               Allison Carter
  Cc:               scott.murray@macgilllaw.com; patrick.sanders@macgilllaw.com; tcole@colelawgrouppc.com;
                    agoldstein@colelawgrouppc.com; gbesen@bradley.com; gmarchetti@tpmblaw.com; matt@tpmblaw.com;
                    tpresnell@bradley.com; snokes@bradley.com; bbundren@bradley.com; Callas, Gretchen; Thomas J. Hurney, Jr. -
                    Jackson Kelly PLLC (thurney@jacksonkelly.com); Steve Mintz; Terence McCormick; klein@mintzandgold.com;
                    Kathy Klein; John Jacobson
  Subject:          Re: Hunt v. Southern Baptist Convention, et al.
  Date:             Tuesday, December 19, 2023 11:06:03 AM
  Attachments:      image001.png
                    2023-11-28 MacGill PC Letter (3).pdf


 Counsel,

 We are in receipt of the Guidepost letter unilaterally cancelling the scheduled meet and confer
 at 11 am central time today.

 We will pursue a Court Order enforcing each of the depositions of GuidePost personnel as
 noticed in the enclosed letter.

 We will seek agreements from the remaining defendants as to the dates we proposed in the
 enclosed letter.

 We will contact the Magistrate Judge Frensley now to seek a conference to enforce the
 Guidepost deposition notices.

 Best regards.

 Robert D. MacGill
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 P Please consider the environment before printing this email.



 On Tue, Dec 19, 2023 at 11:42ௗAM Allison Carter <acarter@rjfirm.com> wrote:

   Attached please find a letter from Kathy Klein. As explained in the letter, Guidepost is
   canceling today’s call.




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